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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )          No. 6:19-CR-33-REW-HAI
 v.                                            )
                                               )
 SHMAURE D. WOODS,                             )                    ORDER
                                               )
         Defendant.                            )

                                         *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE #104) of United

States Magistrate Judge Hanly A. Ingram, addressing Defendant Shmaure Woods’s guilty plea to

Count 1 of the Indictment (DE #1). Defendant appeared before Judge Ingram on January 10, 2020.

See DE #103 (Minutes). After consenting to plead before a United States Magistrate Judge and

engaging in a full Rule 11 colloquy, Woods proceeded to plead guilty. DE #104 at ¶¶ 1–2. Judge

Ingram found Woods competent to plead and concluded that his plea was knowing and voluntary;

Judge Ingram further found that an adequate factual basis supported the plea as to each essential

element of the charged offense. Id. at ¶¶ 2–3. Accordingly, Judge Ingram recommended the Court

accept Defendant’s plea and adjudge him guilty of Count 1 of the Indictment. Id. at ¶ 4.

       Neither Woods nor the Government objected to DE #104 within the allotted three-day

period. See id. at 3. While this Court reviews de novo those portions of a Report and

Recommendation to which a party objects, see 28 U.S.C. § 636(b)(1), it is not required to “review

. . . a magistrate [judge]’s factual or legal conclusions, under a de novo or any other standard, when

neither party objects to those findings.” Thomas v. Arn, 106 S. Ct. 466, 472 (1985). Where the

parties do not object to the magistrate judge’s recommended disposition, they waive any right to

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review. See Fed. R. Crim. P. 59(b); United States v. White, 874 F.3d 490, 495 (6th Cir. 2017)

(“When a party . . . fails to lodge a specific objection to a particular aspect of a magistrate judge's

report and recommendation, we consider that issue forfeited on appeal.”); see also United States

v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he law in this Circuit is clear” that a

party who fails to object to a magistrate judge's recommendation forfeits the right to appeal its

adoption).

       The Court thus ADOPTS the Recommended Disposition (DE #104), accepts the plea, and

ADJUDGES Defendant guilty of Count 1 of the Indictment. Given the guilty adjudication and

Woods’s concession of forfeitability regarding the DE #1-identified property per the plea

agreement (see DE #105 at ¶ 11), the Court provisionally FINDS that Defendant has an interest in

such property and preliminarily ORDERS Defendant’s interest in such property FORFEITED

pursuant to 21 U.S.C. § 853. Per Criminal Rule 32.2, and absent pre-judgment objection, “the

preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R. Crim. P.

32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at (b)(4)(B).

       The Court further CANCELS the jury trial (previously continued generally) as to Woods.

An Order scheduling Defendant’s sentencing will follow. Woods’s custodial status, per the record,

remains as detained.

       This the 17th day of January, 2020.




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